            Case 2:18-cr-00001-TOR         ECF No. 32       filed 09/21/20      PageID.90 Page 1 of 2
 PROB 12C                                                                          Report Date: September 21, 2020
(6/16)

                                       United States District Court                                FILED IN THE
                                                                                               U.S. DISTRICT COURT
                                                                                         EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                         Sep 21, 2020
                                        Eastern District of Washington                        SEAN F. MCAVOY, CLERK



                   Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Anthony Joseph Rungo                      Case Number: 0980 2:18CR00001-TOR-1
 Address of Offender:                                     Washington 99202
 Name of Sentencing Judicial Officer: The Honorable Donald W. Malloy, U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: March 5, 2014
 Original Offense:        Possession with Intent to Distribute Methamphetamine, 21 U.S.C. § 841(a)(1)
 Original Sentence:       Prison - 121 months;               Type of Supervision: Supervised Release
                          TSR - 60 months

 Amended Judgment:        Prison - 87 months
 11/24/2014               TSR - 60 months

 Sentence Reduction:      Prison - 72 months
 04/08/2015               TSR - 60 months
 Asst. U.S. Attorney:     Alison L Gregoire                  Date Supervision Commenced: December 27, 2017
 Defense Attorney:        Federal Defender’s Office         Date Supervision Expires: December 26, 2022


                                         PETITIONING THE COURT

To incorporate the violation(s) contained in this petition in future proceedings with the violation(s) previously
reported to the Court on 09/02/2020.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

             3          Special Condition # 1: The defendant shall participate in substance abuse testing, to include
                        not more than 365 urinalysis tests and not more than 365 breathalyzer tests annually during
                        the period of supervision. The defendant is to pay all or part of the costs of testing,
                        depending on the defendant’s ability to pay, as determined by the United States Probation
                        Officer.

                        Supporting Evidence It is alleged Mr. Rungo violated his terms of supervision on
                        September 15, 2020, by failing to appear for urinalysis testing as directed.

                        On December 27, 2017, Anthony Rungo signed his judgment indicating he understood all
                        conditions ordered by the Court. Specifically, Mr. Rungo was made aware by his U.S.
                        probation officer that he must submit to urinalysis testing as directed.
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                       On September 14, 2020, the undersigned officer notified Mr. Rungo that he was being placed
                       on the color-line for urinalysis testing at Pioneer Human Services. He was assigned the
                       color gold 3 and advised to call the color line daily. On September 15, 2020, the color of the
                       day at PHS was gold 3, Mr. Rungo’s assigned color for urinalysis testing. On September 16,
                       2020, the undersigned was informed he failed to appear for urinalysis testing on September
                       15, 2020, as directed.

The U.S. Probation Office respectfully recommends the Court to incorporate the violation(s) contained in this petition
in future proceedings with the violation(s) previously reported to the Court.



                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                            Executed on:      09/21/2020
                                                                              s/Corey M. McCain
                                                                              Corey M. McCain
                                                                              U.S. Probation Officer



 THE COURT ORDERS

 [ ]       No Action
 [ ]       The Issuance of a Warrant
 [ ]       The Issuance of a Summons
 [X ]      The incorporation of the violation(s) contained in this
           petition with the other violations pending before the
           Court.
 [ ]       Defendant to appear before the Judge assigned to the
           case.
 [ X]      Defendant to appear before the Magistrate Judge.
 [ ]       Other

                                                                             Thomas O. Rice
                                                                             United States District Judge
                                                                              September 21, 2020
                                                                              Date
